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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION
STATE OF NEBRASKA, et al.,               )
                                         )
         Plaintiffs,                     )
                                         )
         v.                              )         Case No. 4:22CV1040 HEA
                                         )
JOSEPH R. BIDEN, JR., et al.,            )
                                         )
         Defendants.                     )

                                     ORDER

      This matter is before the Court on Plaintiffs’ Motion for Injunction Pending

Appeal or Temporary Administrative Stay of Agency Action [Doc No. 48]. On

October 20, 2022, this Court issued an Opinion, Order and Memorandum, with an

accompanying Order of Dismissal, dismissing this case for a lack of standing.

Plaintiffs’ Motion will be denied.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs’ Motion [Doc No. 48] is

DENIED.

      Dated this day 21st of October, 2022.

                                      ________________________________
                                         HENRY EDWARD AUTREY
                                      UNITED STATES DISTRICT JUDGE
